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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA


FIELD CALHOUN                                                                  CIVIL ACTION

VERSUS                                                                          NO. 15-752

LEON CANNIZZARO, ET AL.                                                         SECTION: "G"(1)


                             REPORT AND RECOMMENDATION

        Plaintiff, Field Calhoun, a state inmate, filed this civil action pursuant to 42 U.S.C. § 1983.

He sued Orleans Parish District Attorney Leon Cannizzaro, the Innocence Project of New Orleans,

and George Toca. In this lawsuit, plaintiff claims that his rights have been violated as a result of the

defendants' actions in wrongfully conspiring to have the United States Supreme Court dismiss

Toca's petition for a writ of certiorari.

        Federal law mandates that federal courts "review, before docketing, if feasible or, in any

event, as soon as practicable after docketing, a complaint in a civil action in which a prisoner seeks

redress from a governmental entity or officer or employee of a governmental entity." 28 U.S.C. §

1915A(a). Regarding such lawsuits, federal law further requires:

        On review, the court shall identify cognizable claims or dismiss the complaint, or any
        portion of the complaint, if the complaint –

                (1) is frivolous, malicious, or fails to state a claim upon which relief
                may be granted; or
                (2) seeks monetary relief from a defendant who is immune from such relief.

28 U.S.C. § 1915A(b).

        Additionally, with respect to actions filed in forma pauperis, such as the instant lawsuit,

federal law similarly provides:
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       Notwithstanding any filing fee, or any portion thereof, that may have been paid, the
       court shall dismiss the case at any time if the court determines that ... the action or
       appeal –

               (i) is frivolous or malicious;
               (ii) fails to state a claim on which relief may be granted; or
               (iii) seeks monetary damages against a defendant who is immune
               from such relief.

28 U.S.C. § 1915(e)(2)(B).

       A complaint is frivolous "if it lacks an arguable basis in law or fact." Reeves v. Collins, 27

F.3d 174, 176 (5th Cir. 1994). In making a determination as to whether a claim is frivolous, the

Court has "not only the authority to dismiss a claim based on an indisputably meritless legal theory,

but also the unusual power to pierce the veil of the complaint's factual allegations and dismiss those

claims whose factual contentions are clearly baseless." Neitzke v. Williams, 490 U.S. 319, 327

(1989); Macias v. Raul A. (Unknown), Badge No. 153, 23 F.3d 94, 97 (5th Cir. 1994).

       A complaint fails to state a claim on which relief may be granted when the plaintiff does not

"plead enough facts to state a claim to relief that is plausible on its face. Factual allegations must

be enough to raise a right to relief above the speculative level, on the assumption that all the

allegations in the complaint are true (even if doubtful in fact)." In re Katrina Canal Breaches

Litigation, 495 F.3d 191, 205 (5th Cir. 2007) (citation, footnote, and quotation marks omitted).

       Although broadly construing plaintiff's complaint,1 the Court nevertheless finds that, for the

following reasons, the complaint should be dismissed as frivolous and/or for failing to state a claim

on which relief may be granted.



   1
       The court must liberally construe a pro se civil rights complaint. See Moore v. McDonald,
30 F.3d 616, 620 (5th Cir. 1994).

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       Plaintiff's claims are founded on the defendants' actions in George Toca's state criminal case.

Based on a crime committed when he was a minor, Toca was convicted of second degree murder

under Louisiana law and sentenced to a term of life imprisonment without benefit of parole,

probation, or suspension of sentence. Many years later, he sought collateral review in the state

courts, arguing that his sentence was illegal under Miller v. Alabama, 132 S. Ct. 2455 (2012).2 After

being granted relief by the state district court, Toca was ultimately denied relief by the Louisiana

Supreme Court, which held:

       The district court's order granting respondent's Motion to Correct an Illegal Sentence
       is reversed. The decision in Miller v. Alabama, 567 U.S. –, 132 S.Ct. 2455, 183
       L.Ed.2d 407 (2012), does not apply retroactively in respondent's case. See State v.
       Tate, 12-2763 (La. 11/5/13); 130 So.3d 829, cert. denied, Tate v. Louisiana, No. 13-
       8915, – U.S. –, 134 S.Ct. 2663, 189 L.Ed.2d 214, 2014 WL 834279 (May 27, 2014).

State v. Toca, 141 So.3d 265 (La. 2014). The United States Supreme Court then granted Toca's

petition for a writ of certiorari on two issues: "1) Does the rule announced in Miller v. Alabama,

567 U.S. –, 132 S.Ct. 2455, 183 L.Ed.2d 407 (2012), apply retroactively to this case? 2) Is a federal

question raised by a claim that a state collateral review court erroneously failed to find a Teague

exception?" Toca v. Louisiana, 135 S.Ct. 781 (2014). However, after the Supreme Court agreed

to hear the case, the Orleans Parish District Attorney's Office offered to have Toca's original

conviction vacated and arrange for his immediate release if he would agree to plead guilty to lesser

charges. Toca agreed, and he has since been released. Based the foregoing and on the stipulation

of the parties, the United States Supreme Court then dismissed Toca's writ of certiorari. Toca v.

Louisiana, No. 14-6381, 2015 WL 507612 (U.S. Feb. 3, 2015).


  2
        In Miller, the Supreme Court held that "mandatory life without parole for those under the age
of 18 at the time of their crimes violates the Eighth Amendment's prohibition on 'cruel and unusual
punishments.'" Miller, 132 S. Ct. at 2460.

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        Plaintiff complains that, due to the defendants' actions, the United States Supreme Court will,

at least for the moment, leave unresolved the issue of whether Miller is to be applied retroactively

on collateral review. He opines that he is harmed as a result, because, if Miller is applied

retroactively, he would be entitled to relief in his criminal case. However, plaintiff's claims fail for

the following reasons.

        Plaintiff brought this action pursuant to 42 U.S.C. § 1983. In pertinent part, that statute

provides:

        Every person who, under color of any statute, ordinance, regulation, custom, or
        usage, of any State or Territory or the District of Columbia, subjects, or causes to be
        subjected, any citizen of the United States or other person within the jurisdiction
        thereof to the deprivation of any rights, privileges, or immunities secured by the
        Constitution and laws, shall be liable to the party injured in an action at law, suit in
        equity, or other proper proceeding for redress ....

42 U.S.C. § 1983.

        Here, the defendants' actions in Toca's case in no way violated plaintiff's rights. He was not

a party to Toca's case, he has no standing to challenge Toca's plea bargain and release, and he has

no right to have Toca's case decided by the United States Supreme Court. If plaintiff, like Toca, was

of the opinion that his sentence was illegal under Miller, his recourse was to file his own state post-

conviction application raising that claim and, if unsuccessful, to file a petition for a writ of certiorari

with the United States Supreme Court and/or a petition seeking federal habeas corpus relief.3




   3
     The Court is aware that plaintiff has previously sought and been denied federal habeas corpus
relief on different grounds. Calhoun v. Cain, Civ. Action No. 99-1118 (W.D. La. Aug. 21, 1999).
However, 28 U.S.C. § 2244 allows a prisoner to seek authorization to file a "second or successive"
habeas petition, and the United States Fifth Circuit Court of Appeals has been granting authorization
to file such petitions raising Miller claims. See, e.g., In re Tapp, No. 14-31236 (5th Cir. Nov. 24,
2014).

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                                    RECOMMENDATION

       It is therefore RECOMMENDED that plaintiff's complaint be DISMISSED WITH

PREJUDICE as frivolous and/or for failing to state a claim on which relief may be granted.

       A party's failure to file written objections to the proposed findings, conclusions, and

recommendation in a magistrate judge's report and recommendation within fourteen (14) days after

being served with a copy shall bar that party, except upon grounds of plain error, from attacking on

appeal the unobjected-to proposed factual findings and legal conclusions accepted by the district

court, provided that the party has been served with notice that such consequences will result from

a failure to object. 28 U.S.C. § 636(b)(1); Douglass v. United Services Auto. Ass'n, 79 F.3d 1415,

1430 (5th Cir. 1996) (en banc).4

       New Orleans, Louisiana, this eleventh day of March, 2015.




                                                     _______________________________________
                                                     SALLY SHUSHAN
                                                     UNITED STATES MAGISTRATE JUDGE




   4
        Douglass referenced the previously applicable ten-day period for the filing of objections.
Effective December 1, 2009, 28 U.S.C. § 636(b)(1) was amended to extend that period to fourteen
days.

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